Case 4:19-cv-00331-ALM-CAN Document 21 Filed 09/28/20 Page 1 of 1 PageID #: 795




                             United States District Court
                                    EASTERN DISTRICT OF TEXAS
                                        SHERMAN DIVISION

   RAY SHAFIK                                        §
                                                     § Civil Action No. 4:19-CV-331
   v.                                                § (Judge Mazzant/Judge Nowak)
                                                     §
   COMMISSIONER, SSA                                 §

                            MEMORANDUM OPINION AND ORDER

          The Court, having reviewed Plaintiff Ray Shafik’s Motion for Attorney’s Fees pursuant to

  the Equal Access to Justice Act (Dkt. #16) and the Commissioner’s Response (Dkt. #20), wherein

  the Commissioner does not object to the requested fee, finds that Plaintiff’s Motion is well taken

  and should be granted. Accordingly,

          It is therefore ORDERED that Plaintiff’s Motion (Dkt. #16) is GRANTED, and the

  Commissioner is directed to pay seven thousand five hundred ninety-seven dollars and seventy-

. six cents ($7,597.76) in attorney’s fees, plus court costs of four hundred dollars ($400.00), for a

  total award of seven thousand nine hundred ninety-seven dollars and seventy-six cents ($7,997.76).

  Payment shall be made payable to Plaintiff and mailed to Plaintiff’s counsel of record.

          IT IS SO ORDERED.
           SIGNED this 28th day of September, 2020.




                                         ___________________________________
                                         AMOS L. MAZZANT
                                         UNITED STATES DISTRICT JUDGE
